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                 EXHIBIT 10
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                       FACTORY MUTUAL INSURANCE COMPANY
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Factory Mutual Insurance Company (herein, the “Company”) submits the enclosed property
damage policy and 31 endorsement forms for your review and approval. The Company
specializes in insuring high value, multi state, large and complex commercial and industrial
entities commonly called Highly Protected Risk (HPR) business.

This explanatory filing memorandum is provided only for informational purposes. It does not
modify, limit or enlarge insurance policy provisions. The actual rights and responsibilities of the
insurer and the Insured are contained in the policy’s terms and conditions.

A PDF copy of each form is included in this filing. This memorandum is to be used in
conjunction with the enclosed redline comparison for the policy and each endorsement contained
in this submission. Also included for your reference is Appendix A – Previous Policy Reference
(herein, “Appendix A”). A majority of the policy terms in this filing were previously filed and
approved. Appendix A contains the form name, form number and previous company filing
number for each previously filed form and two new endorsements.

The State Amendatory Endorsement is being filed where necessary and contains only changes
related to the policy language explained herein.

In this filing, the Company is submitting an all risk coverage property damage policy and
endorsement forms. The majority of the policy coverages in these forms were previously filed
and approved with the FMGA 2011 Policy series of forms. The Company’s intent is to simplify
the coverage wordings and to provide enhanced cover. There is no rate change for this filing.

The Company requests an effective date of April 1, 2016 for each form contained in this filing.
The Company intends to make the enclosed forms available for new and renewal business for
use from that effective date.

The following forms are included in this filing:

   -   FMGA 2016: Property Damage Policy
   -   FMG7541: Off Premises Data Services Property Damage Endorsement
   -   FMG7542: Off Premises Data Services Time Element Endorsement
   -   FMG7437: Accidental Interruption of Services Endorsement
   -   FMG3303: Loss Payment Increased Tax Liability Endorsement
   -   FMG3102: Service Interruption Property Damage Endorsement
   -   FMG7441: Insured Option Endorsement
   -   FMG3230: Ingress/Egress Endorsement
   -   FMG7317: Logistics Extra Cost Endorsement
   -   FMG3203: Service Interruption Time Element Endorsement
   -   FMG3233: Actual Loss Sustained Endorsement
   -   FMG7446: Communicable Disease Response Endorsement
   -   FMG3124: Coinsurance Deficiency and Currency Devaluation Endorsement
   -   FMG7440: Fine Arts and Valuable Papers and Records Endorsement

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   -   FMG3128: Installment or Deferred Payments Endorsement
   -   FMG7442: Machinery or Equipment Startup Option Endorsement
   -   FMG7168: Terrorism Endorsement
   -   FMG3201: Gross Earnings Endorsement
   -   FMG3209: Gross Profit Endorsement
   -   FMG3208: Extra Expense Endorsement
   -   FMG3205: Rental Insurance Endorsement
   -   FMG3212: Leasehold Interest Endorsement
   -   FMG7243: Computer Systems – Non Physical Damage Endorsement
   -   FMG7236: Civil or Military Authority Endorsement
   -   FMG7238: Contingent Time Element Extended Endorsement
   -   FMG7438: Attraction Property Endorsement
   -   FMG7439: Crisis Management Endorsement
   -   FMG7237: Delay in Startup Endorsement
   -   FMG7450: Interruption by Communicable Disease Endorsement
   -   FMG3232: Research and Development Endorsement
   -   FMG7239: Soft Costs Endorsement
   -   State Amendatory Endorsement (If required)

                        FMGA 2016: PROPERTY DAMAGE POLICY

DECLARATIONS:

Named Insured and Mailing Address: No change.

Policy Dates: No change.

Insurance Provided: This section has been added to better describe how the insured can find
coverage within the policy. This new section replaces the former Insured Location section which
provided that the policy coverage applied to insured locations, as defined in the policy. Please
see the Miscellaneous Property explanation below for more information. There is no material
change in coverage.

*Please note that the defined term, “insured location” has been replaced with “insured
location” throughout the policy and policy endorsements. This change is not explained further
in each clause below because there is no material change in coverage.

Premium: No change.

Premium Payable: No change.

Loss Adjustment/Payable: No change.

Territory: No change.

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Jurisdiction: No change.

Currency: No change.

Limits of Liability: No change.

Deductibles: No change.

PROPERTY DAMAGE:

Insured Property: Section title has been changed for clarification. There is no material change in

coverage.

Excluded Property: Section title has been changed for clarification. The “accounts, bills, deeds,
evidences of debt or title” exclusions have been removed. This is an expansion of coverage.
“Currency, money, notes or securities” and “precious metal in bullion form” have been separated
into two distinct categories for clarification. There are no other changes in coverage.

Exclusions: The section referenced in Section A.6. has been changed from Demolition and
Increased Cost of Construction to Law and Ordinance. SEE Law and Ordinance below for
further explanation. OFF PREMISES DATA SERVICES has been added as additional cover.
See OFF PREMISES DATA SERVICES below for further explanation. There is no material
change in coverage.

Valuation: The Demolition and Increased Cost of Construction section reference has been
changed to Law and Ordinance. SEE Law and Ordinance below for further explanation.

Additional Coverages: There is no change in coverage to introductory paragraph. Please see
specific coverages below.

Automatic Coverage: No change.

Brands and Labels: No change.

Consequential Reduction in Value: No change.

Data, Programs or Software: No change.

Debris Removal: No change.

Errors and Omissions: No change.

Expediting Costs: No change.

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Land and Water Contaminant Cleanup, Removal and Disposal: No change.

Law and Ordinance: This is a new clause which provides coverage for costs associated with a
law or ordinance that is enforced as a result of a loss at an insured location. This clause contains
coverage which was previously provided in Demolition and Increased Cost of Construction as
well as coverage for the portions of property of buildings that have been down-zoned and cannot
be fully repaired or replaced due to a law or ordinance. This is an expansion in coverage.

Miscellaneous Property: This new clause combines coverage previously provided by: Form
FMG7235: Miscellaneous Personal Property Endorsement, approved in filing FMIC-2004-9; Off
Premises Storage for Property under Construction, Form FMG7233, approved in filing FMIC-
2011-1; Form 7327: Personal Property not at a Location, approved in filing FMIC-2011-1 and
miscellaneous unnamed locations coverage provided via the Insured Location clause in Form
FMGA 2011 approved in filing FMIC-2011-1. This simplifies the previous coverages into one
clause for the insured. There is no material change in coverage.

Protection and Preservation of Property: No change.

Temporary Removal of Property: No change.

LOSS ADJUSTMENT AND SETTLEMENT

No changes.

GENERAL PROVISIONS

Cancellation/Non-Renewal: No change.

Inspections: No change.

Provisions Applicable to Specific Jurisdictions: No change.

Liberalization: No change.

Misrepresentation and Fraud: No change.

Lenders Loss Payee and Mortgagee Interests and Obligations: No change.

Other Insurance: No change.

Policy Modification: No change.

Reduction by Loss: No change.

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Suspension: No change.

Titles: No change.

Assignment: No change.

Definitions:
communicable disease: this term defines the term referenced in Communicable Disease
Response and Interruption by Communicable Disease coverages.

off shore: this term is no longer defined in the form as it is meant to take on its generally
understood meaning within policy forms.

off premises data processing or data transmission services: this term defines the services
referenced in Off Premises Data Services Property Damage coverage.

startup: this term is no longer defined in the form as it is defined within the Machinery or
Equipment Startup Option Endorsement.

                                 Note Regarding Terrorism Coverage

Some terrorism exclusions appear within the FMGA 2016 policy form mentioned above and the
Endorsements contained herein.      Please note that every policy contains Form FMG7308,
Supplemental United States Certified Act of Terrorism Endorsement, approved in FMIC-2015-1
and paragraph C. of Provisions Applicable to Specific Jurisdictions within Form FMGA 2016
filed herein.

With respect to property within the USA, the effect of both clauses is to replace the definition of
terrorism with the “certified” acts definition and remove the terrorism exclusions within the
policy as they would have applied to “certified acts”. An event that is not considered a “certified
terrorism” event (sometimes known as “non-certified”), therefore will not be considered
terrorism, and will not be subject to any of the terrorism exclusions. They will be addressed
within the all-risks coverage, and only subject to general policy terms. The Policy will cover
“non-certified” acts as it does other perils such as fire.

The Company typically issues international policies that cover property in multiple jurisdictions
and therefore terrorism coverage needs to be appropriate both within the United States and
outside of the United States.




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            FMG7541: Off Premises Data Services Property Damage Endorsement

This is a new optional endorsement which provides coverage for insured property when an
accidental event at a data facilities provider causes an interruption of data processing or data
transmission services.

               FMG7542: Off Premises Data Services Time Element Endorsement

This is a new optional endorsement which provides coverage for losses related to off premises
data processing or data transmission services when an accidental event at the facilities provider
causes an interruption to the Insured’s business.

                 FMG7437: Accidental Interruption of Services Endorsement
                FMG3303: Loss Payment Increased Tax Liability Endorsement
                FMG3102: Service Interruption Property Damage Endorsement
                         FMG7441: Insured Option Endorsement
                         FMG3230: Ingress/Egress Endorsement
                       FMG7317: Logistics Extra Cost Endorsement
                 FMG3203: Service Interruption Time Element Endorsement
                      FMG3233: Actual Loss Sustained Endorsement

The 8 Endorsements listed above are being refiled to reflect that the defined term “insured
location” has been replaced with “insured location”. This is the only substantive change in
these endorsements. Some endorsements also include grammatical and editorial changes for
clarification. Please see Insurance Provided coverage of Form FMGA 2016 above for more
information. Relating to FMG3203 only, the title of the endorsement has been amended from
Service Interruption Endorsement for clarification. There is no material change in coverage.

                    FMG7446:
                       7446: Com
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                                           Diseasee Response E
                                                             Endorsement
                                                               ndorsement

This endorsement
     endorsement wa     was pprrevi
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                                            approved in filing FMIC-2011-13
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Cleanup, R   emoval and Disposal Endors
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         FMG3124: Coinsurance Deficiency and Currency Devaluation Endorsement

This endorsement was previously approved in filing FMIC-2004-9, as Coinsurance Deficiency
Endorsement. Grammatical and editorial changes have been made to utilize the defined term,
representative companies and to provide that the insured should adjust foreign policy values if
affected by a significant currency devaluation. This is a reduction of coverage which allows for
clarification of the adjustment period.

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           FMG7440: Fine Arts and Valuable Papers and Records Endorsement

This endorsement was previously approved in filing FMIC-2011-1. Grammatical and editorial
changes have been made to reference the proper Property Excluded section. There is no material
change in coverage.

                FMG3128: Installment or Deferred Payments Endorsement

This endorsement was previously approved in filing FMIC-2001-2 as Deferred Payments
Endorsement. Grammatical and editorial changes have been made to utilize the bolded, defined
term, actual cash value in order to invoke the definition used in the policy form, FMGA 2016.
There is no material change in coverage.

            FMG7442: Machinery or Equipment Startup Option Endorsement

This endorsement was previously approved in filing FMIC-2011-1. Grammatical and editorial
changes have been made to remove the bolded, defined term, startup and instead define the term
within the endorsement as it is specific to this coverage. There is no material change in
coverage.

                             FMG7168: Terrorism Endorsement

This endorsement was previously approved in company filing FMIC-2011-1. Grammatical and
editorial changes have been made to utilize the more general concept of insurance provided.
Please see the explanation in Miscellaneous Property of form FMGA 2016 above. The valuation
clause has been removed because the valuation clause relating to terrorism in the FMGA 2016
form will apply. There is no material change in coverage.

                          FMG3201: Gross Earnings Endorsement
                           FMG3209: Gross Profit Endorsement
                          FMG3208: Extra Expense Endorsement
                         FMG3205: Rental Insurance Endorsement
                        FMG3212: Leasehold Interest Endorsement

The 5 endorsements listed above were previously approved in filing FMIC-2011-1. The clauses
“provided such loss or damage is not at a contingent time element location” and “while in
transit as provided by this policy” have been added to clarify how the coverage applies as it
relates to the Insurance Provided and Miscellaneous Property clauses within the FMGA 2016
form. There is no material change in coverage. Coverage for contingent time element locations
will be addressed within the Contingent Time Element Extended Endorsement.

Relating to FMG3201, FMG3209, FMG3208 and FMG3205, the Period of Liability exclusion
relating to restaffing or retraining employees has been amended to state that the exclusion does

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not apply to retraining staff to use new machinery and equipment within the stated period of
time. This is an expansion in coverage.

Relating to FMG3208, Extra Expense Endorsement only, the costs to purchase finished goods
from third parties to fulfill orders that cannot be met have been added to this coverage. This is
an expansion in coverage. Additional period of liability provisions have also been added. This
is a clarification.

            FMG7243: Computer Systems – Non Physical Damage Endorsement

This endorsement was previously approved in filing FMIC-2011-1. Paragraph 2 has been added
to cover loss resulting from the Insured’s reasonable actions to protect electronic data processing
equipment or media against impending malicious acts. This is an expansion in coverage.

                     FMG7236: Civil or Military Authority Endorsement

This endorsement was previously approved in filing FMIC-2011-1. This coverage extension
now covers losses sustained due to a limitation, restriction or prohibition of partial or total access
to an insured location due to an order of civil or military authority. This is an expansion in
coverage.

                FMG7238: Contingent Time Element Extended Endorsement

This endorsement was previously approved in filing FMIC-2008-3. Grammatical and editorial
changes have been made for clarification. The new endorsement form no longer defines
contingent time element locations within its terms, but instead refers to the bolded, defined term
contingent time element extended locations as utilized in the FMGA 2016 form. This
endorsement also removes the condition relating to the indemnity period because it will be
provided within the Time Element coverage. There is no material change in coverage.

                         FMG7438: Attraction Property Endorsement

This endorsement was previously approved in filing FMIC-2011-1. The terrorism exclusion has
been added to clarify the Company’s intent. Please note that this terrorism exclusion will not
apply within the United States as described in ‘Note Regarding Terrorism Coverages’ above.
There is no material change in coverage.

                         FMG7439: Crisis Management Endorsement

This endorsement was previously approved in filing FMIC-2011-1. This version has been
updated to add workplace accident events as a trigger of coverage. This is an expansion in
coverage.

                           FMG7237: Delay in Startup Endorsement

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This endorsement is was previously approved in filing FMIC-2004-9. This version has been
updated to remove the reference to Off Premises Storage for Property under Construction and
instead refer to the more broad insured location term. There is no material change in coverage.

                FMG7450:
                   7450: Inter
                         Interrruption by Communicable
                                          Communicable Disease Endorse
                                                               Endorsemment

This endorsement was previ       previousl
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                                                approved in filingfiling FMIC-2011-2011-1-133 as Interruption bbyy
Communicable Disease Ex          Expense
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                    Form FMG3232: Research and Development Endorsement

This endorsement was previously approved in filing FMIC-2001-2. Grammatical and editorial
changes have been made for clarification. There is no material change in coverage.

                               Form FMG7239: Soft Costs Endorsement

This endorsement is was previously approved in filing FMIC-2004-9. Grammatical and editorial
changes have been made for clarification. The new endorsement form no longer defines soft
costs within its terms, but instead refers to the bolded, defined term soft costs as utilized in the
FMGA 2016 form. There is no material change in coverage.

                     STATE AMENDATORY ENDORSEMENT (If required)
Grammatical and editorial changes to be consistent with policy format. There is no material
change in coverage.




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FMIC-2016-1 Appendix A: Previous Policy Reference
                                                                                     PRIOR COMPANY
                            POLICY FORM                         FORM NO.                 FILING NO.
FMGA 2016                                                   FMGA 2016               FMIC-2011-1
OFF PREMISES DATA SERVICES PROPERTY DAMAGE ENDORSEMENT      FMG7541                 New
OFF PREMISES DATA SERVICES TIME ELEMENT ENDORSEMENT         FMG7542                 New
ACCIDENTAL INTERRUPTION OF SERVICES ENDORSEMENT             FMG7437                 FMIC-2011-1
LOSS PAYMENT INCREASED TAX LIABILITY ENDORSEMENT            FMG3303                 FMIC-2011-1
SERVICE INTERRUPTION PROPERTY DAMAGE ENDORSEMENT            FMG3102                 FMIC-2011-1
INSURED OPTION ENDORSEMENT                                  FMG7441                 FMIC-2011-1
INGRESS/EGRESS ENDORSEMENT                                  FMG3230                 FMIC-2011-1
LOGISTICS EXTRA COST ENDORSEMENT                            FMG7317                 FMIC-2011-1
SERVICE INTERRUPTION TIME ELEMENT ENDORSEMENT               FMG3203                 FMIC-2011-1
ACTUAL LOSS SUSTAINED ENDORSEMENT                           FMG3233                 FMIC-2011-1
COMMUNICABLE DISEASE RESPONSE ENDORSEMENT                   FMG7446                 FMIC-2011-13
COINSURANCE DEFICIENCY AND CURRENCY DEVALUATION ENDORSEMENT FMG3124                 FMIC-2004-9
FINE ARTS AND VALUABLE PAPERS AND RECORDS ENDORSEMENT       FMG7440                 FMIC-2011-1
INSTALLMENT OR DEFERRED PAYMENTS ENDORSEMENT                FMG3128                 FMIC-2001-2
MACHINERY OR EQUIPMENT STARTUP OPTION ENDORSEMENT           FMG7442                 FMIC-2011-1
TERRORISM ENDORSEMENT                                       FMG7168                 FMIC-2011-1
GROSS EARNINGS ENDORSEMENT                                  FMG3201                 FMIC-2011-1
GROSS PROFIT ENDORSEMENT                                    FMG3209                 FMIC-2011-1
EXTRA EXPENSE ENDORSEMENT                                   FMG3208                 FMIC-2011-1
RENTAL INSURANCE ENDORSEMENT                                FMG3205                 FMIC-2011-1
LEASEHOLD INTEREST ENDORSEMENT                              FMG3212                 FMIC-2011-1
COMPUTER SYSTEMS NON PHYSICAL DAMAGE ENDORSEMENT            FMG7243                 FMIC-2011-1
CIVIL OR MILITARY AUTHORITY ENDORSEMENT                     FMG7236                 FMIC-2011-1
CONTINGENT TIME ELEMENT EXTENDED ENDORSEMENT                FMG7238                 FMIC-2008-3
ATTRACTION PROPERTY ENDORSEMENT                             FMG7438                 FMIC-2011-1
CRISIS MANAGEMENT ENDORSEMENT                               FMG7439                 FMIC-2011-1
DELAY IN START UP ENDORSEMENT                               FMG 7237                FMIC-2004-9
INTERRUPTION BY COMMUNICABLE DISEASE ENDORSEMENT            FMG7450                 FMIC-2011-13
RESEARCH AND DEVELOPMENT ENDORSEMENT                        FMG3232                 FMIC-2001-2
SOFT COSTS ENDORSEMENT                                      FMG7239                 FMIC-2004-9
STATE AMENDATORY ENDORSEMENTS                               varies state to state   varies state to state




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